    Case 1:23-cr-00490-SHS     Document 708   Filed 01/21/25    Page 1 of 23




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

     -against-                           Case No. S4 23-cr-490 (SHS)

ROBERT MENENDEZ et al.,

                 Defendants.



      SENATOR ROBERT MENENDEZ’S REPLY TO THE GOVERNMENT’S
                     SENTENCING SUBMISSION



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         Case 1:23-cr-00490-SHS                         Document 708                  Filed 01/21/25                Page 2 of 23




                                                    TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 3

          I.         The Government Grossly Mischaracterizes the Egypt-Aid Scheme ...................... 3

          II.        The Government, Again, Tramples on Senator Menendez’s Speech or Debate
                     Rights ...................................................................................................................... 9

          III.       Senator Menendez’s Lifetime of Good Works Merits Consideration Under 18
                     U.S.C. § 3353(a) ....................................................................................................11

          IV.        The Government’s Loss Amount Calculations are Based on Guesswork............. 13

          V.         The Court Should Reject the Government’s Suggestion that Senator Menendez’s
                     Sentence Should Be Increased Based on Hypothetical Future Credits He May or
                     May Not Earn ........................................................................................................ 14

          VI.        The Government’s and Probation Department’s Requested Sentence Would
                     Unnecessarily Increase The Risk of Harm to Senator Menendez in Prison. ........ 16

CONCLUSION ............................................................................................................................. 19




                                                                        i
         Case 1:23-cr-00490-SHS                          Document 708                 Filed 01/21/25               Page 3 of 23




                                                  TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

Cases

A.m. C.L. Union Found. of S.C. v. Stirling,
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   487 F. Supp. 2d 403 (S.D.N.Y. 2007)........................................................................................4

United States v. Dean,
   792 F. App’x 842 (2d Cir. 2019) ...............................................................................................4

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   No. 15-cr-385 (AJN), 2019 U.S. Dist. LEXIS 111519 (S.D.N.Y. July 2, 2019).....................11

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Statutes

5 U.S.C. § 8332(o) .........................................................................................................................15

18 U.S.C. § 3353(a) .......................................................................................................................11

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U.S.S.G. § 5H1.11 .........................................................................................................................11

                                                                        ii
         Case 1:23-cr-00490-SHS                         Document 708                  Filed 01/21/25               Page 4 of 23




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                                                                       iii
      Case 1:23-cr-00490-SHS           Document 708         Filed 01/21/25      Page 5 of 23




                                        INTRODUCTION

       The government’s sentencing submission (Dkt. 690) rejects the law’s mandate that

criminal sentences be “not greater than necessary.” 1 18 U.S.C. § 3553(a)(2). As to Senator

Menendez, a life-long public servant, the government instead advocates for a 15-year prison

sentence—a life and death sentence for a septuagenarian—which can only be described as

vindictive and cruel. In pursuit of that sentence, the government presents a hyperbolic screed

filled with overheated rhetoric that is divorced from the actual evidence. At trial, even the targets

of the charged bribery schemes (the government officials that Senator Menendez contacted on

behalf of friends) acknowledged that no threats were made, and no improper action was ever

taken as a result of their very brief conversations with Senator Menendez. This is nothing like

the “astounding and unheard of” scheme that the government now presents as the most serious

“in the history of the Republic.” Dkt. 690 at 38, 40.

       To be sure, the crimes of conviction are very serious. The distorted view of the offenses

of conviction that the government presents is intended to provoke anger in pursuit of a longer

sentence. But the evidence offered at trial is largely divorced from the highly misleading

presentation in the government’s submission. It presents a fictionalized account of Senator

Menendez’s conduct, aiming for maximum emotional (and media) impact, rather than justice.

For example:




1
 Pursuant to the Court’s briefing schedule, the government had an opportunity to respond to the
defense sentencing submission; the government’s repeated distortions of the record, and basic
fairness, compel the defense to present this short reply brief addressing the government’s
submission.
                                                  1
      Case 1:23-cr-00490-SHS           Document 708         Filed 01/21/25      Page 6 of 23




           •   Is copyediting a draft letter at the request of one’s spouse that explains Egypt’s

               efforts to fight terrorism and improve relations with NGOs really an effort to

               “justify Egypt’s human rights abuses,” as the government claims? Dkt. 690 at 8.

           •   Is forwarding a public news article (released on Yahoo.com) that reported public

               statements from other Congressman of their intention to question an Egyptian

               official about possible involvement in the Khashoggi assassination really

               “brief[ing] the head of Egyptian intelligence” on how to excuse a brutal murder?

               Dkt. 690 at 8.

           •   Is sending Nadine unclassified aggregated information about embassy staffing—

               information the government of Egypt indisputably already had and that the U.S.

               State Department releases publicly—really putting U.S. foreign service workers

               “at risk” of violent retaliation by terrorists? Dkt. 690 at 1.

       Such bombastic accusations—in pursuit of a request that the Court essentially lock up the

Senator and throw away the key—are not appropriate advocacy in pursuit of justice. The

rhetoric is good for headlines, but to do justice with this sentence, cooler heads must prevail.

       As for the calculation of the advisory Guidelines range, the government does not dispute

that the Guidelines range it, and the Probation department urge (292-365 months) is grossly

inappropriate and excessive. Senator Menendez maintains his objections to the Probation

Department’s Guidelines calculation, and rests on his prior submission and the dozens of letters

in support in the record to urge a more reasonable and appropriate sentence. We will not repeat

those reasons here.

       This reply will, however, highlight areas of the government’s submission that utterly lack

support in—and worse, defy—the evidentiary record. First, with respect to aid to Egypt, the


                                                  2
      Case 1:23-cr-00490-SHS           Document 708        Filed 01/21/25      Page 7 of 23




government mischaracterizes the evidence of Senator Menendez’s role and tramples over his

Speech or Debate Clause rights in the process. Second, the government improperly asks the

Court to ignore Senator Menendez’s lifetime of good works, citing outdated caselaw concerning

a Guidelines variance that is not even at issue here. Third, regarding the amounts of supposed

bribes, the government more-or-less admits that its attempts to tie cash found in 41 Jane Drive to

Senator Menendez was guesswork, arbitrarily excluding some and including other cash in its

calculations. And, fourth, the government essentially asks the Court to enhance the appropriate

sentence to account for “good time credit” and other incentives that are not remotely guaranteed

and may never be granted.

       In sum, as serious as the crimes of conviction are, the law requires that the Court evaluate

factors beyond just the criminal conduct. The government repeatedly asks this Court essentially

to ignore those other factors, focusing instead on a distorted view of the alleged conduct. The

Court should not take the bait. Although we acknowledge that a sentence of imprisonment is

warranted under the circumstances, we respectfully request that a sentence within the Guidelines

range proposed by Senator Menendez (21-27 months) is sufficient, but not greater than

necessary, to address the 3553(a) factors.

                                             ARGUMENT

I.     The Government Grossly Mischaracterizes the Egypt-Aid Scheme

       On the Egypt-related schemes, the government’s sentencing submission represents a

striking, whiplash-inducing 180º. Just a few weeks ago, in opposing Senator Menendez’s motion

for a new trial (Dkt. 645), and desperate to preserve Senator Menendez’s convictions, the

prosecutors insisted that the case against Senator Menendez was not really about military aid to

Egypt at all. In fact, the government argued that “the entire topic of military aid to Egypt was . .

. a secondary issue in the case” and that the jury could have convicted Senator Menendez on the
                                                 3
      Case 1:23-cr-00490-SHS           Document 708        Filed 01/21/25      Page 8 of 23




Egypt-related counts based solely on a telephone call to a USDA bureaucrat, without any

consideration of military aid. Dkt. 648 at 36. Moreover, other than evidence barred by the

Speech or Debate Clause, the government was unable to identify record evidence tying Senator

Menendez to any corrupt approval of “billions of dollars” worth of military aid to Egypt. The

only admitted evidence relevant to this scheme—that did not violate the Constitution—

concerned $99M of target practice rounds and tank ammunition rounds destined to help the

Egyptian military fight ISIS. Id. at 38-39 (setting forth the evidence against Senator Menendez

regarding military aid and including none regarding a sale of “billions of dollars” worth of aid to

Egypt).

          The government now does an about-face. Suddenly, for sentencing, the aid-to-Egypt

scheme takes center stage and is central to justifying the excessive sentence the government

seeks. Worse, the government contorts the scheme beyond recognition into something far more

sinister and nefarious than what the evidence actually showed, much like the classic “fish story”

in which an amateur angler’s description of his catch becomes more impressive, and more

incredible, with each telling. While, of course, this Court has broad discretion to consider a

variety of materials in imposing a sentence, the “proper procedure” is to disregard “unproven”

allegations. United States v. Dean, 792 F. App’x 842, 844-45 (2d Cir. 2019); see also Jones v.

Donnelly, 487 F. Supp. 2d 403, 416–17 (S.D.N.Y. 2007) (at sentencing a “trial court cannot . . .

rely on information that is clearly unreliable or inaccurate.”). Several of the government’s

descriptions of the Egypt-related offenses must be rejected on that basis alone. 2




2
 The below is not intended to be, and is not, an exhaustive list of all of the government’s
mischaracterizations in its sentencing submission but focuses on illustrative (and particularly
egregious) examples of the government’s overstatements.
                                                 4
      Case 1:23-cr-00490-SHS           Document 708        Filed 01/21/25      Page 9 of 23




       As a first example, the government insists that Senator Menendez helped “ghost-write a

letter seeking to justify Egypt’s alleged human rights abuses.” Dkt. 690 at 8 (emphasis added).

But there was no evidence whatsoever that this letter was ever sent to any US or Egyptian

official or used by the Egyptian government at all. Nor did any evidence even remotely suggest

that Senator Menendez intended the letter to be sent to the Egyptian government, as opposed to

his wife. Moreover, Senator Menendez only edited the grammar and structure of the letter,

without in any way adjusting its substance.

       In any event, nothing in the letter—either what Nadine provided to Senator Menendez, or

what he sent back to her—remotely attempted to “justify” human rights abuses. Indeed, the

letter doesn’t mention Egypt’s human rights record at all, and instead focuses on Egypt’s

ongoing effort to crack down on terrorist groups and its treatment of foreign organizations

operating in the country. GX A403. It also invites an American who was inadvertently injured

during travel in Egypt to contact the Egyptian government, through counsel, to discuss her

claims. Id. It is simply false and inflammatory to suggest that the letter excused human rights

violations, or that Senator Menendez ever sought to do so in this letter or otherwise. In truth, as

the trial record reflected, Senator Menendez repeatedly used his platform to focus attention on

Egypt’s human rights record—usually to the dismay of the White House, which was looking to

provide unconditional aid to Egypt—even during the time period that the government claims he

was working on Egypt’s behalf. Trial Tr. at 4638-40 (testimony of Sarah Arkin); see also GX

10C-6 (April 8, 2019 press release from Senator Menendez: “Leading Senators Call On Sec.

Pompeo To Raise Key Concerns During Bilateral Meeting With Egyptian President Sisi”); DX

435 (March 6, 2020 press release from Senator Menendez criticizing President Sisi’s actions

“attempt[ing] to quash dissent and consolidate control by wrongfully imprisoning human rights



                                                 5
      Case 1:23-cr-00490-SHS           Document 708         Filed 01/21/25    Page 10 of 23




defenders.”). It was Senator Menendez who took President Sisi to task on his human rights

record in a face-to-face meeting with him during an Egypt trip that the government claims was

“very weird.” Trial Tr. 4635-36 (testimony of Sarah Arkin). Notably, it was only years after the

alleged scheme (and after Senator Menendez resigned) that the Executive Branch overrode

Congressional human rights conditions that Senator Menendez placed on military aid to Egypt in

order to grant Egypt its full allocation of $1.3 billion in aid. See

https://www.reuters.com/world/biden-administration-grants-egypt-13-billion-military-aid-

despite-rights-2024-09-11/. The suggestion that Senator Menendez ever attempted to justify

human rights abuses by Egypt defies the factual record.

       Nor is there any evidence that Senator Menendez endangered American foreign service

workers. The government incredibly claims that when Senator Menendez told his wife (who in

turn told Wael Hana) the aggregate number of staff employed at a U.S. Embassy in Egypt, he

somehow put American foreign service workers “at risk.” Dkt. 690 at 1. This assertion is

ridiculous on its face. This is information that Egypt obviously had already (by virtue of its

accrediting everyone who entered Egypt and was to work at the U.S. Embassy) and which the

U.S. government publishes regularly. Indeed, the State Department Inspector General

periodically issues publicly available reports that not only identify the number of U.S. and

foreign employees at Embassy Cairo, but the locations of the employees’ residences:




                                                  6
     Case 1:23-cr-00490-SHS          Document 708        Filed 01/21/25      Page 11 of 23




See https://www.stateoig.gov/uploads/report/report_pdf_file/aud-mero-22-23_8.pdf, at p.2.

       Seriously, there is no plausible explanation for how the number of Americans posted at an

embassy in Cairo, without any information about their names, positions, or other identifying

details, could have created a risk to anyone. Other than an agricultural attaché who, seeking a

moment in the sun, testified that this information could somehow help terrorists target U.S.

employees, Dkt. 677 at 38, there was no competent evidence presented at all to substantiate this

concern of risk to Americans. And the terrorism theory makes no sense for many reasons,

including the government’s claim that this information was provided to agents of the

government of Egypt, not any terrorist group. Dkt. 690 at 9-10. Is the theory then that the

Egyptian government was helping terrorists plan attacks on Americans inside Egypt? No such

evidence has ever been presented to this Court, but the government’s thirst for punishment is


                                                7
      Case 1:23-cr-00490-SHS          Document 708         Filed 01/21/25      Page 12 of 23




seemingly not slowed by the absence of supporting evidence and the plainly nonsensical nature

of its theory.

        So why did Senator Menendez send his wife these innocuous numbers? Defendant Hana’s

Presentence Investigation Report provides an eminently more plausible and sensible explanation

than the government’s speculation about some kind of Egyptian-terrorist alliance:

        “The idea that providing this information [about embassy staffing] to me means
        that I was conspiring to make Senator Menendez an agent of Egypt is, honestly,
        complete nonsense. Egypt knows who is working in embassies in Cairo – if
        Egyptian, they pay taxes and have health insurance; if American, they have records
        of their entry and position in the country. Egypt did not ask me to get this
        information from the Senator and would have no reason to do so. I had previously
        talked with the Senator, Nadine, and Ahmed Helmy about the number of
        Egyptians who worked at the US embassy who were also members of the Muslim
        Brotherhood, and he shared it with me to demonstrate that the number of
        Egyptians there overall was not as high as I had assumed. I shared that with
        Ahmed Helmy, who was at the meeting where I raised this issue, to let him know
        the follow up. In any event, the information about U.S. employees is publicly
        published by the U.S. government on a regular basis and the number of staff,
        whether Americans or Egyptians, does not change materially over time.”

Hana PSR ¶ 139 (emphasis added).

        There simply was no violation of any rule or law concerning classified materials nor any

nefarious or corrupt purpose in sharing this public statistical information. The government’s

characterization of this data, by contrast, is an attempt to use “clearly unreliable” information at

sentencing. Jones, 487 F. Supp. 2d at 416–17.

        The claim that Senator Menendez “briefed the head of Egyptian intelligence on questions

other U.S. Senators were preparing to ask [him]” is also just false. Dkt. 690 at 8. What the

evidence actually showed was that Nadine Arslanian sent an Egyptian embassy employee—not

the “head of Egyptian intelligence”—a public news article about an issue of importance to some

members of Congress. GX B213. That issue of importance had already been publicized by other

Congressmen, who made it known that they intended to question an Egyptian official about the

                                                  8
      Case 1:23-cr-00490-SHS          Document 708        Filed 01/21/25      Page 13 of 23




matter. See GX A103-A (The forwarded article stated, “The House Foreign Affairs Committee is

trying to arrange its own meeting with Kamel, and one of its members, Rep. Tom Malinowski,

D-N.J., . . . said that if the meeting happens, he too intends to question Kamel about the

Khashoggi assassination. ‘I’d like them to know we know they helped the Saudis murder a U.S.-

based journalist,’ he told Yahoo News.”). All of the information to this embassy employee was

also available with a simple online search or to anyone who walked by a newsstand that day.

        The list could go on. It is no doubt the government’s role to highlight and contextualize

the offense conduct, but that does not give the government license to wantonly fictionalize the

record in an effort to maximize punishment. The above-listed and other exaggerations are

simply beyond the pale.

II.     The Government, Again, Tramples on Senator Menendez’s Speech or Debate Rights

        Even if the government accurately described the evidentiary record, its submission

advocates for the Court to consider evidence and argument that is clearly barred by the Speech or

Debate Clause. While the government’s distaste for the Speech or Debate privilege is self-

evident, the Clause’s protection against a Senator being “questioned” on his legislative acts in

any place other than the halls of Congress apply equally to a sentencing proceeding and remains

in full force.

        First, the government argues at length in its submission that Senator Menendez’s

positions on Egypt differed from those of some members of the Executive Branch and also from

other legislators. See Dkt. 690 at 6-7 (“the foreign military financing and foreign military sales

that Menendez promised to approve . . . were far from uncontroversial”); Dkt. 690 at 7 (“others

in the Legislative Branch and the Executive Branch [] register[ed] their objections” to such aid);

Dkt. 690 at 8 (“Menendez advocated on behalf of the Egyptian government . . . in a manner



                                                 9
      Case 1:23-cr-00490-SHS           Document 708         Filed 01/21/25      Page 14 of 23




directly adverse to his own fellow U.S. Senators”); id. (“while a U.S. Senator himself, Menendez

literally . . . took the side of . . . a foreign government against his own fellow U.S. Senators”).

       The Senate is not homogeneous in its views—that’s the point, Senators disagree and

debate their policy positions. 3 It is not improper or unlawful for Senator Menendez to disagree

with colleagues or even with the Executive Branch of government. The suggestion that unity is

required is something we would expect in a repressive society like Russia or North Korea. But,

more fundamentally, Senator Menendez should not have to defend his policy positions on Egypt

in the way that the government now demands, as that is precisely what the Speech or Debate

Clause is meant to bar. United States v. Johnson, 383 U.S. 169, 180 (1966) (“the essence of [the]

charge in this context is that the Congressman’s conduct was improperly motivated . . . that is

precisely what the Speech or Debate Clause generally forecloses from executive and judicial

inquiry”) (emphasis added).

       To be clear, Senator Menendez does not contest that the Court may consider evidence of

the Egypt-aid scheme in imposing a sentence, but the government’s attempt to embellish that

evidence into something damaging to American interests by virtue of its opposition to the policy

preferences of others in government crosses the Speech-or-Debate line.

       Second, the government’s references to Senator Menendez’s “promise” to approve

“billions of dollars” in military aid to Egypt (Dkt. 690 at 40)—a promise that was never proven

at trial and for which there is zero supporting evidence—violates this Court’s prior orders barring

the evidence that is the subject of Senator Menendez’s pending motion for vacatur. Dkt. 420. In




3
 And, although it doesn’t affect the Speech or Debate analysis, Senator Menendez’s positions
were often less friendly to Egypt than those held by members of the executive branch who
regularly advocated for aid to be provided to Egypt without preconditions (which is what the
White House actually did once Senator Menendez resigned).
                                                  10
       Case 1:23-cr-00490-SHS          Document 708         Filed 01/21/25      Page 15 of 23




excluding all evidence relating to an approved sale of approximately $2.5 billion of military aid

to Egypt in January 2021, the Court rejected the government’s arguments that this evidence

reflected corrupt promises and held that the evidence referenced “past legislative acts.” Dkt. 420;

Trial Tr. 1045:1-5 (the Court, referencing evidence of the January 2021 military aid sale: “I must

say I don’t see how you get around the fact, for example, Bob had to sign off on this as being a

core--the core of the act itself. You can say the words again and again. I just don't see a promise

here.”). The government’s attempt to revive this excluded, Constitutionallybarred evidence in

this sentencing proceeding should be rejected.

III.    Senator Menendez’s Lifetime of Good Works Merits Consideration Under 18 U.S.C.
        § 3353(a)

        In urging the Court to disregard Senator Menendez’s life’s work, all devoted to bettering

the lives of his constituents (and all Americans), it relies entirely on caselaw concerning a

downward variance under U.S.S.G. § 5H1.11 for good works. See Dkt. 690 at 46-52. But a

downward variance is not what Senator Menendez is requesting here; to the contrary, he asks that

the Court consider his decades of devotion to public service as part of its 3553(a) analysis.

There is ample support in the law for this type of consideration, and the government’s insistence

that the Court cannot consider such evidence is simply false. See United States v. Dwyer, No.

15-cr-385 (AJN), 2019 U.S. Dist. LEXIS 111519, at *1-2 (S.D.N.Y. July 2, 2019) (finding that a

“non-incarceratory sentence was appropriate” for former NYPD officer defendant where “the

letters submitted on Dwyer’s behalf showed that he was a hard-working individual dedicated to

public service”); United States v. Lenich, No. 17-CR-0154 (WFK), 2018 U.S. Dist. LEXIS

19386, at *7-8 (E.D.N.Y. Feb. 2, 2018) (“tak[ing] into account” the defendant’s “years of public

service to the community during her tenure as an ADA . . . [and] the punishment she has already

suffered in the form of the loss of her ability to practice her chosen career[.]”); United States v.


                                                  11
      Case 1:23-cr-00490-SHS           Document 708         Filed 01/21/25      Page 16 of 23




Fishman, 631 F. Supp. 2d 399, 404 (S.D.N.Y. 2009) (“fully” considering “Fishman’s charitable

activities in connection with its analysis of the § 3553(a) factors”).

        The government’s attempts to dismiss the dozens of letters supporting Senator Menendez

as merely reflecting a senator “competently discharging the duties of his office” is mistaken and

misses the point. Dkt. 690 at 46. The critical fact is that Senator Menendez, despite other, more

lucrative options, chose to devote his life to serving as an elected representative and, in that role,

contributed enormously to the people of New Jersey and the United States. It is common

knowledge that former Senators and other Members of Congress can – and often do – attract

significant compensation in the private sector (for example, as a lobbyist or television pundit). If

truly motivated by “naked greed,” Dkt. 690 at 1, Senator Menendez could easily have ended his

tenure in the Senate early and earned millions at a lobbying firm or elsewhere. That he did not

do so, and instead remained in the Senate in order to make a difference is laudable and merits

consideration under the 3553(a) factors.

        The truth is that Senator Menendez made a hugely positive difference in the lives of

countless people. That’s certainly far from typical for a defendant being sentenced in this

District.

        The government tries to dismiss that history as the everyday, commonplace work of an

elected official. But the record shows a life of service that is far from commonplace, even for an

elected official. Senator Menendez was personally involved in helping his constituents in a way

that went above and beyond the job of a Senator. The supporting—and undisputed—facts

supporting this conclusion were outlined in detail in Senator Menendez’s opening submission

(Dkt. 677 at 12-14) and reflect extraordinary devotion (well beyond what is expected of an

elected official) to victims of Hurricane Sandy, to the homeless, to families managing care of a



                                                  12
      Case 1:23-cr-00490-SHS          Document 708        Filed 01/21/25      Page 17 of 23




disabled loved one, to the family of a tragically murdered judge, and to individuals abroad

seeking all manner of humanitarian assistance. All elected officials, presumably, seek to provide

services to their constituents. It is a select few, though, that demonstrate a true commitment to

the wellbeing of humanity – and not just prominent constituents or special interests.

       The letters submitted on Senator Menendez’s behalf conclusively show that he falls

squarely in the latter category. Indeed, when the government on redirect of Senator Menendez’s

former staffer Sarah Arkin attempted to suggest that constituents often did not get meetings with

Senator Menendez and his staff, Ms. Arkin disagreed, stating “[I]t [was] the policy [of Senator

Menendez] to try to make all meetings happen, to try . . . to get every constituent [a meeting]

with at least a staffer.” Trial Tr. 4831. The suggestion that Senator Menendez’s personal

involvement on behalf of so many constituents was merely the everyday call of duty of the

people’s representative ignores the reality depicted in so many of the letters of support submitted

on Senator Menendez’s behalf.

IV.     The Government’s Loss Amount Calculations are Based on Guesswork

       As Senator Menendez argued in his opening submission, the government’s method for

connecting seized cash to Senator Menendez, thus justifying its enormous proposed “loss

amount,” is flawed. Dkt. 677 at 16-20. There simply is no rhyme or reason behind the

government’s assertion that most of the cash found in 41 Jane reflects the proceeds of criminal

conduct that was reasonably foreseeable to Senator Menendez. Id. But in opposing this

argument, the government’s own admission reveals the dearth of evidence actually connecting

the Senator (let alone any bribe) to the cash found at 41 Jane. The government argues that, for

unstated reasons, over $100,000 in cash found in a duffel bag in Senator Menendez’s office in

Nadine’s home was excluded from the calculated loss amount. Dkt. 690 at 30. Presumably the

government recommended exclusion of the duffel bag in Senator Menendez’s office given the
                                                13
     Case 1:23-cr-00490-SHS           Document 708        Filed 01/21/25      Page 18 of 23




date of the bills, the method in which they were kept, and the contemporaneous evidence of

Senator Menendez’s consistent pattern of withdrawals from his bank account. Senator

Menendez does not object to this exclusion, of course—but it does underscore that the

government approached the loss amount calculation in an ad hoc, unprincipled manner, without

tying proper inferences to the evidence. There can be no reason to exclude the cash in the duffel

bag, but include cash found in parts of the house not used by Senator Menendez, or include the

cash and gold bars found in a locked closet that contains not a single article of Senator

Menendez’s clothing. The seeming irrationality of these choices betrays the fact that the

government cannot establish by a preponderance of evidence that all the cash was linked and

foreseeable to Senator Menendez. Dkt. 677 at 16-17.

V.     The Court Should Reject the Government’s Suggestion that Senator Menendez’s
       Sentence Should Be Increased Based on Hypothetical Future Credits He May or
       May Not Earn

       Toward the end of its submission, the government offers a primer on various federal

programs that, in some cases, can reduce the portion of an imposed sentence that a defendant

actually serves in custody. Dkt. 690 at 22-27. The seeming implication is that Senator

Menendez may serve only a portion of his imposed sentence in custody, so the Court should

impose an even longer sentence in order to maximize his time behind bars. The government

does not cite any Second Circuit authority that authorizes judicial consideration of hypothetical

future credits when imposing sentence. 4 The Court should reject this argument—and should not

consider the potential impact of such sentence reduction programs.


4
  The two out-of-Circuit authorities the government cites are inapposite. Both consider irrelevant
scenarios where the sentencing court was obligated by statute to avoid a “life sentence,” and hold
only that consideration of these types of programs is appropriate in assessing whether a “life
sentence” will in fact be imposed. See Dkt. 690 at 23 (citing United States v. Fowler, 948 F.3d
663, 671 (4th Cir. 2020) (“To confirm that a 40-year sentence was not life equivalent, the district
judge [properly] considered the potential impact of good-time credits on Fowler’s age at
                                                14
     Case 1:23-cr-00490-SHS           Document 708        Filed 01/21/25      Page 19 of 23




       The reason is that future reductions of an inmate’s sentence are not assured. These

programs are routinely subject to change or even cancellation, and no one can predict whether

Senator Menendez will necessarily qualify for each. For example, there is a broad range of

relatively minor prison infractions that can disqualify an inmate from receiving “good conduct”

credit, including, for example, the sharing of commissary and phone privileges with other

inmates and use of a contraband telephone. It cannot and should not be taken as a given that any

inmate will automatically receive 54 days per year of good conduct credit. Nor is it a given that

any inmate will be able to complete the RDAP program, which even the government

acknowledges is the “BOP’s most intensive treatment program” that lasts 9 months.

       Moreover, the “First Step Act” was passed only seven years ago and could easily be

amended or repealed (in whole or in part). Dkt. 690 at 24. And while none of the counts of

conviction now are a “disqualifying offense” that would exclude Senator Menendez from

sentence reduction programs (see Dkt. 690 at 25, n. 8), Congress may well change that, perhaps

as a part of the same zeitgeist that led to the recently enacted “No CORRUPTION Act” (which

strips legislators convicted of certain public corruption offences of their federal pensions). See 5

U.S.C. § 8332(o).

       And critically, as the government admits, it is the Bureau of Prisons—not the Court—that

administers each of these programs and determines eligibility for them. Dkt. 690 at 24, n. 4. So,

if the Court were to lengthen Senator Menendez’s sentence based on an assumption that sentence

reduction programs will inure to his benefit, and then those programs are modified (or Senator




release”) (emphasis added); United States v. Prevatte, 66 F.3d 840, 848 (7th Cir. 1995) (Posner,
J., concurring) (similar)). These cases do not hold that the Court may consider the potential
impact of future, hypothetical sentence reduction programs in all sentencing proceedings, as the
government seemingly urges.
                                                 15
      Case 1:23-cr-00490-SHS          Document 708         Filed 01/21/25      Page 20 of 23




Menendez is deemed ineligible for them), the Court will have imposed a sentence greater than

necessary, in violation of Section 3553(a), with no recourse to adjust the sentence later if the

credits are not granted.

VI.    The Government’s and Probation Department’s Requested Sentence Would
       Unnecessarily Increase The Risk of Harm to Senator Menendez in Prison.

       As a final matter, in imposing a sentence, the Court should take into consideration the

grave risks that uniquely face Senator Menendez should he be imprisoned somewhere other than

a minimum-security prison (also known as a “Federal Prison Camp” or “FPC”). As a result of his

position in government, the notoriety associated with his criminal investigation and trial, and the

public reporting of gold bars and cash seized from his home, Senator Menendez is at a far greater

risk than the typical inmate—even the typical well-known inmate—of violence, extortion, and

harassment in prison.

       While all prisons are sometimes dangerous places, some are more frequently dangerous

than others. Under BOP Guidelines, a sentence in excess of 10 years in prison would render

Senator Menendez ineligible for placement in a FPC, which would substantially increase the risk

of harm to Senator Menendez. For this additional reason, the government and Probation

Department’s request for a sentence of 15 or 12 years’ imprisonment should be rejected.

       It is well-recognized that inmates with a degree of celebrity are at increased risk of

attention, harassment, and violence from their fellow inmates. See A.m. C.L. Union Found. of

S.C. v. Stirling, 123 F.4th 170, 175 n.3 (4th Cir. 2024) (inmates who become “virtual ‘public

figures’ within the prison society” attract a “disproportionate degree of notoriety,” which can

result in “severe disciplinary problems”) (internal citation omitted); Hammer v. Ashcroft, 570

F.3d 798, 804–05 (7th Cir. 2009) (publicity about an inmate can potentially “result in inmate-on-

inmate violence and thus can have dire consequences for inmates, penitentiary staff, and the


                                                 16
     Case 1:23-cr-00490-SHS           Document 708         Filed 01/21/25      Page 21 of 23




public at large”). This risk is heightened in Senator Menendez’s case, as the reporting

surrounding his indictment and trial was (and continues to be) particularly intense and often

perceived as describing the Senator as both wealthy as a consequence of his corruption and

indifferent to the wellbeing of average Americans. 5 The practical reality is that Senator

Menendez’s fellow inmates will reach conclusions about him based on his public profile and

misleading perceptions that will likely render him a target of violence, extortion, harassment, and

intimidation.

       Although this risk of violence is inherent in any prison setting, it is a matter of degree,

and some prisons (like FPCs) have reduced risks of violence as compared to others. Indeed, the

Federal Bureau of Prisons operates facilities at a variety of security levels, including “[m]inimum

security institutions, also known as Federal Prison Camps (FPCs), [that] have dormitory housing,

a relatively low staff-to-inmate ratio, and limited or no perimeter fencing.” 6 The reasonable

intuition that inmates assigned to minimum security facilities would be less prone to violence

than those in facilities with higher security levels is borne out in the data. Although inmates in

minimum security facilities comprise nearly 15% of the federal prison population, the Bureau of

Justice Statistics reports that, in 2023, such inmates are responsible for only 1.9% of “prohibited

acts”—and only 1.3% of prohibited acts with the “greatest severity,” such as murder and sexual

assault—committed in all federal prisons. By contrast, inmates housed in “low” security

facilities, the next gradation up from minimum security, comprise 36.1% of all inmates and, in


5
  See, e.g., “Sen. Bob Menendez’s clutter home loaded with $150K in gold bars, $480k in cash,”
The New York Post, May 21, 2024, (https://nypost.com/2024/05/21/us-news/sen-bob-menendezs-
cluttered-home-loaded-with-gold-bars-wad-of-cash-stashed-in-boot-new-photos/); “Gold bars in
baggies and cash crammed in boots: Prosecutors detail Menendez’s hoarded riches,” New Jersey
Monitor, May 16, 2024 (https://newjerseymonitor.com/2024/05/16/gold-bars-in-baggies-and-
cash-crammed-in-boots-prosecutors-detail-menendezs-hoarded-riches/).
6
  https://www.bop.gov/about/facilities/federal_prisons.jsp.

                                                 17
     Case 1:23-cr-00490-SHS           Document 708        Filed 01/21/25      Page 22 of 23




2023, were responsible for 21.2% of all prohibited acts (including 25.8% of prohibited acts of the

greatest severity). 7 That is, proportionate to prison population, inmates in minimum security

prisons commit a far lower percentage of prohibited acts (including the most severe prohibited

acts) than inmates in low security prisons. Minimum security prisons are thus far safer than low

security prisons, and for a high-risk inmate such as Senator Menendez, this is a critically

important consideration.

       Bureau of Prisons policies, though, automatically disqualify an offender with a sentence

of 10 years or more from placement in a minimum-security security facility. See Bureau of

Prisons, Inmate Security Designation & Custody Classification (P.S. 5100.08, September 4,

2019, Ch. 5, p. 12, Table 5-2 (a sentence of greater than 10 years is a “Public Safety Factor”

automatically resulting in at least a “low” (but not a minimum) security level for male inmates)

(available at: https://www.bop.gov/policy/progstat/5100_008cn.pdf). Senator Menendez stands

firmly by his argument that a sentence within his calculated advisory guidelines range (21-27

months) is more than sufficient to serve the purpose of sentencing and, by preserving his

eligibility for placement in a minimum-security prison, would reduce the risks of violence and

harm to him in prison. By contrast, the sentences requested by the government and Probation

Department would maximize the risk of harm to him, given that a sentence greater than 10 years

in prison would render him ineligible for placement in a minimum-security prison. Subjecting a

convicted defendant to “violence among prison inmates serves absolutely no penological

purpose,” Farmer v. Brennan, 511 U.S. 825, 852 (1994) (Blackmun, J., concurring). Senator



7
 Statistics on inmate population by security level are published by the Bureau of Prisons and
available at https://www.bop.gov/about/statistics/statistics_inmate_sec_levels.jsp. Statistics on
conduct of prohibited acts by security designation are published by the Bureau of Justice
Statistics and available at https://bjs.ojp.gov/document/fpscufsa24.pdf.

                                                18
     Case 1:23-cr-00490-SHS           Document 708           Filed 01/21/25   Page 23 of 23




Menendez therefore should be afforded the opportunity to be placed in a facility where he is

most likely to be safe during his term of incarceration.

                                         CONCLUSION

       For the reasons set forth in his initial sentencing submission, and herein, the 3553(a)

factors warrant a sentence that considers Senator Menendez’s lifetime of good deeds and good

character, his zero-percent likelihood of recidivism, and the punishment he has already

sustained due to his conviction. A sentence within the advisory Guidelines range urged by the

defense (21-27 months) is more than sufficient to satisfy 3553(a).


Dated: January 21, 2025                            Respectfully submitted,


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                                                19
